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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA

         v.
                                                          Criminal No.: 16-CR-10343-ADB-7
JOHN N. KAPOOR,

         Defendant.


               ASSENTED-TO MOTION FOR LEAVE TO FILE SUR-REPLY

         Pursuant to 7.1(b)(3), Defendant John Kapoor, with the assent of the Government, hereby

moves this Court for permission to file a sur-reply to the Government’s Motion for Forfeiture of

Property (ECF 1054). The sur-reply would aid the Court’s consideration of the matters presented

by responding to arguments and authorities raised in the Government’s Reply (ECF 1149). It will

also lessen the need for the parties to engage in extensive oral argument on the forfeiture issue at

Dr. Kapoor’s sentencing proceeding.

         WHEREFORE, Defendant John Kapoor respectfully requests permission to file a sur-

reply.

Dated: January 20, 2020                           Respectfully submitted,

                                                  /s/ Kosta Stojilkovic
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                           LOCAL RULE 7.1 CERTIFICATION

        Pursuant to Local Rule 7.1(a)(2), I hereby certify that counsel for the moving defendants
and the government have conferred and that counsel for the government has indicated their
assent to this motion.


                                                    /s/ Kosta S. Stojilkovic
                                                    Kosta S. Stojilkovic
                                                    Counsel for Dr. John Kapoor


                                CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document will be served on all counsel of record
through the ECF system.


                                                    /s/ Kosta S. Stojilkovic
                                                    Kosta S. Stojilkovic
                                                    Counsel for Dr. John Kapoor




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